   Case 17-00186               Doc 22         Filed 04/23/18 Entered 04/23/18 16:36:53               Desc Main
                                                Document     Page 1 of 2



                          UNITED STATES BANKRUPTCY COURT
                    NORTHERN DISTRICT OF ILLINOIS - EASTERN DIVISION

Laurina Kim Bukovics,                                                 )
                                           Debtor.                    )   Case No. 15 B 38069
                                                                      )   Chapter 7
                                                                      )
Laurina Kim Bukovics,                                                 )
                                           Plaintiff,                 )   Adv. No. 17 A 186
     v.                                                               )
                                                                      )   Hon. Jack B. Schmetterer
Navient,                                                              )
                                           Defendants.                )

                                          DEFENDANT’S TRIAL WITNESS

          Defendant, Educational Credit Management Corporation (“ECMC”), by its undersigned

attorneys, hereby gives notice of its intent to call the following witnesses in the trial of this

cause:

          1.         Plaintiff, Laurina Kim Bukovics. Ms. Bukovics is anticipated as an adverse

witness who will testify about her current financial condition and employment, her past

employment, earnings, schooling, experience, and marketable skills, the amount of student debt

that she owes, her attempts to repay the debt, the current circumstances of her life and their

impact on her anticipated earnings, and her past, current, and expected future expenses.

                                                                Respectfully submitted,

                                                                Educational Credit Management Corporation,
                                                                Defendant

                                                                By:       /s/ Saskia Nora Bryan
                                                                          One of its Attorneys


Mark E. Shure, ARDC No. 06188755
Saskia Nora Bryan, ARDC No. 06255682
LATIMER LeVAY FYOCK LLC
55 W. Monroe Street, Suite 1100
Chicago, Illinois 60603


                                                                                                      Page 1 of 2
N:\Clients\85010-36\docs\Trial\Defendant's Trial Witness.docx
   Case 17-00186               Doc 22         Filed 04/23/18 Entered 04/23/18 16:36:53   Desc Main
                                                Document     Page 2 of 2



(312) 422-8000
(312) 422-8001 (fax)


                                              CERTIFICATE OF SERVICE

          The undersigned, an attorney, certifies that on April 23, 2018, the foregoing Defendant’s

Trial Witness disclosure was filed via the U.S. Bankruptcy Court for the Northern District of

Illinois CM/ECF electronic document filing system, which will serve notice thereof upon the

following parties and attorneys of record:


                     Attorney for Plaintiff
                     William J. Barrett - william.barrett@bfkn.com



                                                                /s/ Saskia Nora Bryan




                                                                                          Page 2 of 2
N:\Clients\85010-36\docs\Trial\Defendant's Trial Witness.docx
